Case 1:15-cV-03771-GLR Document 9 Filed 12/16/15 Page 1 of 11

IN 'I`HE UNITED STA'I`ES DISTRICT COURT
FOR THE DISTRIC'I` OF MARYLAND

DARLENE BR()WN, et al. *

Plaintiffs, *

?k

Civil Action No.: 1:15-cV-03771-GLR

FREDERICO DON BROOM, et a£.

])efendants. *

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DEFENDANT, FEDERAL HOME LOAN MORTGAGE’S MOTION TO DISMISS
Defendant, Federal Home Loan Mortgage Corporation, through undersigned counsel,
David A. Skomba, Carrie V, O’Brien, and FRANKLIN & PROKUPIK, P.C., and pursuant to the
Federai Rules of Civil Proeeduxe, Ruie iZ(b)(6) hereby moves to dismiss Piaintift`s’ First

Amended Complaint. The Compiaint fails to state a claim upon Which relief may be granted and

dismissal is Wai'ranted and proper as a matter of iaw. In support thereof, Defendant, Federai

Home Loan Mortgage Corporation, refers the Court to the i\/lemorandum of Points and
Authorities filed contemporaneously with this Motion and Which is fully incorporated hereto and
adopted herewith

WHEREFORE, Defendant, Federal Home Loan Mortgage Corporation, respectfuily

requests that this Honorable Court grant this Motion and/or afford it such other and further relief

as justice and the nature of its cause may require

Case 1:15-cV-03771-GLR Document 9 Filed 12/16/15 Page 2 of 11

. Respectfully submitted,

/s/
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Attomeysfor Defendcmt,
Fedeml Home Loan Morz‘gage Corpomrion

CERTIFICATE OF SERVICE
l HE£l{EBY CERTIFY that on this 16th day of Decernber, 2015, a copy of the foregoing
Defendarzr Fedeml Home Loan Morrgage Corpomtz`on ’s Motz'on to Dz`smz`ss and Proposed Order

was sent electronically through the ECF system and by First Class US i\/[ail postage prepaid to:

Lauren Geisser, Esquire

GILMAN & BBDLGAN, LLC

108 W. Tirnoniurn Road, Suite 203
Timoniurn, Maryiand 21093
Az‘tomeyfor Plairzrz`jj”

And served via first-class mail on:

Frederico Don Broom
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Woodlawn, MD 21207
Defendan! Pro Se

'l`anya 'Louise Dunn
1792 E. 33rd Street
Balt-irnore, MD 21218

Defendant Pro Se
/s/

David A. Skomba

Case 1:15-cV-03771-GLR Document 9 Filed 12/16/15 Page 3 of 11

IN 'I`HE UNITED STATES BISTRICT COURT
FOR ’I`HE DISTRICT OF MARYLAND
DARLENE BR()WN, et al. *

Plaintiffs, *

vt

v. ' Civil Action No.: 1:15»cv-03771-GLR
FREDERICO I)ON BROOM, et al.

I}efendants. *

'k :i' w':` >': >‘c ic ='< =’c '.~'c 1’: dc =-': rfc
MEMORANDUM OF POINTS ANI) AUTHORITIES IN S`UPPORT OF FEDERAL
HOME LOAN MORTGAGE COROPORTATION’S MOTION TO DISMISS

Det`endant, Federal I~Iorne Loan Mortgage Corporation, (hereinafter “Freddie Mac”),
through undersigned counsei, David A. Sl<oniba, Carrie V. O’Brien, and FRANI<L,IN & PROI<OP§K,
-P.C., and pursuant to Federai Rule Civ. Pro. 12(b)(6) submits the following i\/Iernorandurn of
Points and Authorities in support of its Motion to i)isrniss Piaintifts’ First Amended Cornplaint.

Plaintifi"’s complaint is meritiess on its face. There is no plausible basis under which
Freddie Mac could be liable for the actions of a dog owned by a third party as asserted by
Plaintiff, particularly at a properly that Freddie Mdc did not possess or control at the time ofth

alleged incident As a foreciosing tender without possession or controi of the subject property,
Freddie l\/iac owed no duty to Plaintii`f and the Court should dismiss the Compiaint against
Freddie Mac, with prejudice

I. BACKGROUND

Freddie Mae is a government~sponsored enterprise created to promote a stabie secondary
market for residential mortgages To accomplish this statutory mission, Freddie i\/iac purchases

mortgages from lenders across the country and generally packages them into securities that can

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Case 1:15-cV-03771-GLR Document 9 Filed 12/16/15 Page 4 of 11

be sold to investors or retains mortgages in its portfoiio. Through its secondary market role,
Freddie l\/lac provides homeowners with lower housing costs and better access to horne

financing 12 U.S.C. § 1451 (2012).

Because it purchases mortgages from lenders across the country, Freddie Mac sometimes
is forced to initiate foreclosure after a borrower defaults on the mortgage Where the occupant of
a property refuses to leave the premises after foreclosure Freddie l\/iac generally initiates
eviction proceedings

In the present case, Freddie i\/iac acquired title to property at 3009 Mardel Avenue,
Baltimore, l\/laryland, 21230 {the “premises” or “Property”) on about February 26, 2014 by deed
recorded on July 7, 2014, following a foreclosure sale. At the time Freddie Mac acquired title,
the Property was occupied by Frederico Don Broorn and/or Tanya Dunn (coliectively, the
“Occupants”). See Arn. Cornpi. il‘l[ 4, 5, iO, ii.; see also Exhibit “A”, i)ocl<et Sheet Driscoll v.
Tolbof, Case No. 24-0-}3»002540; see also Exhibit “B” Order Denying Judgment Awarding
Possession, August 12, 20i4. Freddie l\/lac initiated eviction proceedings, but the Occupants
continued to occupy, possess, and control the Property until at least August 19, ?.Oi»“~i.l Sce
Exhibits “A” and “B”.

On September 25, 2015, Piaintiffs filed their Amended Cornplaint. Plaintii`f Darlene
Brown, individually, and as parent, guardian, and next of minor child, S.T. (coilectively
c‘P-laintiffs”), allege that, on July 20, 2014, they visited the Occupants at the Pro'perty, where S.T.
was bitten by the Occupants’ dog (Arn. Compl. M il-l?>) and that Freddie Mac is somehow
liable to Plaintiff for the aileged dog bite. Id. at Counts Vil, X, Xlil, XIV, XV and XViIl. On

December ll, ZOlS, Freddie Mac removed the case to this Court.

 

l in August 2014, the Occupants finally agreed to vacate the premises for $2,500 pursuant to a “Cash for

Keys” agreement
2

Case 1:15-cV-03771-GLR Document 9 Filed 12/16/15 Page 5 of 11

'l`he Arnended Complaint simply does not articulate a legitimate basis for Fi“eddie i\/iac’s
alleged liability with respect to the Occupants’ dog. On the contrary, as further discussed below,
Freddie l\/lac owed no duty, and is not liable, to Plaintiffs because lt did not possess or control the
Property at the time of the alleged incident (nor did it own the dog). Moreover, Plaintift`s do not,
and cannot, plausibly allege that Freddie l\/lac had “notice” of the Occupant’s dog, nor can they
offer any plausible theory under which the alleged bite or injury had anything to do with Freddie
l\/lac. As discussed below, Plaintiffs cannot plausibly allege that Freddie l\/iac possessed or
controlled the Property or the dog, or that the Occupants acted on behalf of Freddie Mac in any
way. Accordingly, the Court should dismiss the claims against Freddie l\/lac, with prejudice

Il. LEGAL STANI)ARD

 

a. MOTION TO DISMISS

Although, in considering a motion to dismiss, the Court should accept as true all well~
pleaded allegations and should view the complaint-in a light most favorable to the plaintiff,”
Mylon Labora!orz`es, lnc. v. Motkori, 7 F.Bd ll30, ll34 (¢flth Cir. 1993), Rule 8 of the Federal
Rules of Civil Procedure requires more than “unadorried, the defendant»unlawt`ully harmed me
accusation[s];” “[t]hreadbare recitals of the elements of a cause of action, supported by mere
conclusory statements, do not suffice.” Aslzcrofr v. lqbol, 556 U.S. 662, 678 (2009). A
complaint cannot survive a motion to dismiss unless it alleges well~pled facts sufficient “to state
a claim to relief that is plausible on itsface.” Frorzcr`s v. Gidcomelli, 588 F.3d 186, l93 (4th Cir.
2009) (emphasis in the original) (quorfrzg lqbol, 556 U.S. at 678). “The plausibility standard is
not akin to a ‘probability requirement,’ but it asks for more than _a sheer possibility that a
defendant has acted unlawfully.” lqbol, 556 U.S. at 678. “Where a complaint pleads facts that

are merely consistent with a defendant’s liability, it stops short of the line between possibility

Case 1:15-cV-03771-GLR Document 9 Filed 12/16/15 Page 6 of 11

and plausibility of ‘entitlement to relief.”’ Id. (internal citations omitted). Id. The “facial
plausibility” standard is only met where ‘°tbe plaintiff pleads factual content that allows the court
to draw a reasonable inference that the defendant is liable for the misconduct alleged.” Id. 'l`lius,
“labels and conclusions,” “i`ormulaic recitation of the elements cl a cause of action,” and °‘naked
assertion[s] devoid of further factual enhancement” are not acceptable Id. (internal quotation
marks omitted). See also Bell Atlantic Corp. v. Twcmbly, 550 U.S. 544, 555-557 (2007).

A court should not presume the truth of conclusory allegations; instead, it may look only
to “l"actual allegations...to determine ii" they plausibly suggest an entitlement to reliei".” Iqbal,
556 U.S. at 679. “Deterinining whether a complaint states a plausible claim for relief will. . .be a
context~specitic task that requires the reviewing court to draw on its judicial experience and
common sense.” Id. PlaintifF s Amended Complaint fails to meet these fundamental
requirements and should be dismissed

III. ARGUMENT

a. Freddie Mac I)id Not Possess Or Control The Pronerty (or the Dog} At
The Time Of The Alieged Incident, And lt ls Not Liable for the Alieged

anna

Plaintit`fs incorrectly contend that Freddie l\/lac was strictly liable for the dog bite and that
it was negligent See Am Compl. Counts Vll, X, Xlll, XIV, XV and XVlll. Neither theory of
liability, however, can be maintained and Plaintiffs’ allegations are without merit

Plaintitt`s cannot establish tbat Freddie Mac was liable, let alone strictly liable, for the
alleged dog bite. Strict liability for animals pursuant to l\/iaryland law arises “when an owner ” of
an animal exposes to the community an animal which the owner knows is dangerous Mot¢ra v.
' _ llanciall, 199 Md. App. 632, 65l, 705 A.Zd 334, 344 (1998). Plaintiffs allege that Broom and/or

Dunn, and not Freddie Mac, own the dog that allegedly attacked S.T. Am. Compl. llii 4. l~"laintilf

Case 1:15-cV-03771-GLR Document 9 Filed 12/16/15 Page 7 of 11

thus admits that Freddie l\/Iac did not own the dog, and Freddie Mac cannot be strictly liable for
the alleged injuries, as a matter of law.2

Nor is Freddie l\/lac liable for negligence relating to the alleged dog bite. To prove
negligence Plaintiffs must demonstrate that: “(l) the landlord controlled the dangerous or
defective condition; (2) the landlord had knowledge or should have had knowledge of the injury
causing condition; and (3) the harm suffered was a foreseeable result of that condition.” Ward v.
Hartley, 168 Md. App. 209, 214»-l5, 895 A.Qd ll ll, lll»¢l (2006) welding modified by Tracey v.
Solesky, No. 53 SEPT.TERM 2011, Z0l2 WL l432263 (l\/ld. Apr. 26, 20l2)) (holdz'ng modified
by Tracey v. Solesky, 427 l\/ld. 627, 50 A.3d 1075 (2012)) (superceded by Md. Code. Ann., Cts.

& lud. Proc. § 3~190l). Plaintiffs cannot do so here.

As a threshold matter, Plaintilfs cannot show that Freddie l\/lac controlled the Property,
let alone the dog, at the time of the alleged incident As discussed above, public records show
that the Property was occupied at the time of the alleged incident, and the Occupants retained
possession and control over the Property until August 2014, approximately a month after the
alleged incident See Exhibits “A” and “B”. Given the Occupants’ clear occupation and control

of the Property, Freddie l\/lac was, at most, an owner “out ot` possession” who cannot be liable for

 

2 Although Tracey v. Solesky, 427 l\/ld. 627, 50 A.3d 1075 (2012), concluded that “a
landlord or other person who has the right to control the pit bull’s presence on the subject
prernises,” could be held strictly liable for a pit bull attack on the owner's premises, the l\/laryland
legislature subsequently revised the law and superseded Tracey to provide instead that common
law negligence principles apply. See l\/ld. Code. Ann., Cts. & Jud. Proc. § 3»1901(b) (“[A]n
action against a person other than an owner of a dog for damages for personal injury or death
caused by the dog, the common law of liability relating to the attacks by dogs against humans
that existed as of April l, 2012 [prior to Tmcey] is retained as to the person without regard to the
breed or heritage of the dog.”). l\/loreover, the conclusion in Tracey was based in part on
evidence that the dog was a pit bull terrier and that the property owner could control the pit bull’s
presence on the subject premises See Tracey, 50 A..'ld at 1080 Even if Tmcey applied, which it
does not, Plaintit`fs have not alleged that Blue was a pit bull, nor have they made, nor can they
make, any specific factual allegations that li`:reddie Mac had the right or ability to control the
dog’s presence at the premises See generally Arn. Compl.

5

Case 1:15-cV-03771-GLR Document 9 Filed 12/16/15 Page 8 of 11

negligence See Waml v. Harl`ley, 168 i\/ld. App. 209, 215, 895 A.2d lill (2006) (a landiord’s
liability depends on the “ability to exercise a degree oi" control over the defective or dangerous
condition and to take steps to prevent injuries arising therefrom.”).

The l\/laryland Court of Special Appeals has held that a property owner is ggt liable in
circumstances such as those presented here. in Worci, the Court upheld summary judgment in
favor of a landlord against plaintift" s claims that the landlords were negligent and strictly liable
relating to a pit bull attack. The Court refused to find the landlords liable because they did not
control the portion of the premises where “the dangerous or defective condition” (i.e. the pit bull)
e>tisted.3 Id. at 219. The Court noted that “[a] common thread running through many of our
cases involving circumstances in which landlords have been held liable (z'.e., common areas, pre-
existing defective conditions in the leased premises, a contract under which the landlord and
tenant agree that the landlord shall rectify a defective condition) is the landlords ability to
exercise a degree of control over the defective or dangerous condition and to take steps to
prevent injuries arising therefrom " Id. at 215 (emphasis in original).

Lil<e the landlords out of possession in Wnrci, Freddie Mac had no control over the
`premises, let alone the Occupants and their dog, at the time of the alleged incident Freddie Mac,
as an owner out of possession, is not liable for any alleged harm caused by the Occupants’ dog.
For that reason alone, the Court should dismiss the Amended Cemplaint with prejudice4

The Court should also dismiss the Cornplaint with prejudice because Plaintiffs’ have

failed to allege any plausible basis for Freddie l\/lac’s liability Far from alleging well~pled facts

 

3 Word was decided pre-Trocey and remains good law.

4 Freddie Mac is even more removed from any potential liability than the defendant in Ward, as Freddie
Mac was never a' “Iandlord” with respect to the Occupants. 'f`he Occupants possessed the Property at the time
Freddie Mac acquired title, and had no lease With Freddie Mac, which was attempting to evict them at the time of

the alleged incident

Case 1:15-cV-03771-GLR Document 9 Filed 12/16/15 Page 9 of 11

sufficient “to state a claim to relief that is plausible on its face” as required under ]qbal, 556 U.S.
at 678, Plaintiff impermissibly relies on the “nal<ed assertion, devoid of further factual
enhancement,” that “despite actual and/or constructive notice of the unsafe and reasonably
dangerous condition” Freddie Mac failed to warn Plaintiffs. Arn. Cornpl. il 7l. Plaintiffs,
however, offer no plausible basis to conclude that Freddie l\/lac had “notice” of the alleged
“clangerous condition” - the Occnpants’ dog.5 Nor can Plaintiffs offer any plausible theory under
which the alleged bite or injury had anything to do with Freddie Mac. As discussed, Freddie Mac
did not possess or control the Property, and Plaintiffs cannot plausibly allege that Freddie Mac
owned or controlled the dog or that the Occupants acted on behalf of Freddie Mac in any way.
Accordingly, Plaintiffs have failed to state a cause of action against Freddie l\/iac as a matter of
law. See ancz's, 588 F.3d at 193 (“[W]here the well~pleaded facts do not permit the court to
infer more than the mere possibility of misconduct, the complaint has alleged m but it has not
‘shown’ - ‘that the pleader is entitled to relief’ as required by Rule 8.”). See ancz's, 588 F.Bd at
193 (quotirzg Twombly, 550 U.S. at 557) (“[N]al<ed assertions’ of wrongdoing necessitate some
‘factual enhancement’ within the complaint to cross ‘the line between possibility and plausibility
of entitlement to relief ”).

Finaily, Plaintiffs make reference to § 12»8~102 ‘Dangerous Anirnals’ which Plaintift`s
allege is an ordnance “in effect in Baltimore City” in Count X (Strict Liability) and Count Xill
(Negligence) on the date of the incident See generally Arn. Compl. Plaintiffs’ reference to § 12-
8~162 is, however, legally irrelevant, because the ordinance is not a Baltirnore City ordnance but

actually part of the Baitirncre County Code and governs acts occurring in Baltimore Coamy only

 

5 As dismissed above, whether §~"reddie Mae had notice (which it did not) is irrelevant because the
Occupants occupied the Property and Freddie Mac was, at most, an owner out of possession who owed no duty to
Plaintiff, let alone a duty with respect to the Occupants’ dog. Even if notice were relevant, the Amended Cornplaint
fails to allege any non-conclusory or plausible factual basis to conclude that Freddie l\/lac had notice of the dog, let

alone its alleged aggressive tendencies
7

Case 1:15-cV-03771-GLR Document 9 Filed 12/16/15 Page 10 of 11

on its face. llere the premises are located in Baltiincre Ct`ly, which is the jurisdiction Where the
alleged dog bite occurred l\/loreover, even were the ordinance jurisdictionally apposite, which it
is not, the statute defines an ‘°owner” as a “persori who possesses, has custody of, exercises
control over, or has a property right in the animal.” Ia'. § l.’Z-8-l()l (d) (l) (i) (eniphasis added).
Here, as discussed, there is no dispute that Freddie l\/lac did not own or control the dog. In
addition, Baltiinore County considers an animal ‘°dangerous” for purposes of the ordinance only
if the Health Ofticer declares that the animal poses a threat to the public health or safety See
Balt. County. Code. § 12~8~101 (a) (l). iiere, there is no allegation that a Health Of;ticer ever
declared Blue a “dangerous animal” pursuant to the ordnance Freddie Mac thus cannot be held
liable pursuant to § 12~8-l02 ‘Dangerous Anirnals’, as a matter of law.

IV. CONCLUSION

For all the foregoing reasons, Pederal l-lorne Loan Mortgage Corporation respectfully

requests that this Court dismiss this action with prejudice for failure to state a clairn upon which

relief can be granted

Respectfully submitted,

/s/
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Attomeysfor De]%ndant,
F ederal Home Loan Mortgage Corporation

Case 1:15-cV-03771-GLR Document 9 Filed 12/16/15 Page 11 of 11

CERTIFICATE OF SERVICE
l HEREBY CBRTIFY that on this lol§l day of Decernber, 20l5 a copy of the foregoing
Memorandum of Pot`nts and Aurhorities in Support of Fedeml Home Loan Mortgage

Corporatz‘orz ’s Motz`on to Dismiss was sent electronically through the ECF system, and sent by

US l\/lail first class postage prepaid, to:

Lauren Geisser, Esquire

GlLi\/iAN & BEDIGAN, LLC

l08 W. Tirnonium Road, Suite 203
Tiinoniurn, Maryland 2 l 093
Attomeyfor Plaz'ntijj”

And served via first-class rnaii on:

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Tanya louise Dunn

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Pro se Defendant

/s/
l)avid A. Skoniba

